                  Case 3:23-cv-01842-RBM-MSB Document 1-1 Filed 10/06/23 PageID.10 Page 1 of 2
    JS 44 (Rev. 04/21)                                               CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
    I. (a) PLAINTIFFS                                                                                 DEFENDANTS
    Lindsey Mack                                                                                     WESTERN GOVERNORS' UNIVERSITY
      (b) County of Residence of First Listed Plaintiff San Diego                                      County of Residence of First Listed Defendant           Salt Lake County
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                  THE TRACT OF LAND INVOLVED.
      (c) Attorneys (Firm Name, Address, and Telephone Number)                                            Attorneys (If Known)
    Kamran Shahabi / Paul Nolan                                                                     Alison Lynch / Sarah Raoof      '23CV1842 RBM MSB
    VALIANT LAW                                                                                     JACKSON LEWIS P.C.
    800 Ferrari Lane, Suite 100, Ontario, CA 91764                                                  200 Spectrum Center Dr., Suite 500, Irvine CA 92618
    909-677-2270                                                                                    949-885-1360
    II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                   (For Diversity Cases Only)                                    and One Box for Defendant)
□ 1 U.S. Government                  □ 3 Federal Question                                                                 PTF         DEF                                       PTF    DEF
            Plaintiff                        (U.S. Government Not a Party)                     Citizen of This State      ~ 1        □ 1      Incorporated or Principal Place  □ 4 □ 4
                                                                                                                                                of Business In This State

□ 2 U.S. Government                      4 Diversity                                           Citizen of Another State      □ 2 □ 2
                                                                                                                                              Incorporated and Principal Place    □ 5 ~ 5
            Defendant                       (Indicate Citizenship of Parties in Item III)                                                        of Business In Another State
                                                                                               Citizen or Subject of a
                                                                                                 Foreign Country             □ 3 □ 3          Foreign Nation                      □ 6 □ 6
    IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                 Click here for: Nature of Suit Code Descriptions.
I       CONTRACT                                          TORTS                          FORFEITURE/PENALTY                   BANKRUPTCY                               OTHER STATUTES             I
  D 110 Insurance                    PERSONAL INJURY
                                                                 PERSONAL INJURY D 625 Drug Related Seizure D 422 Appeal 28 USC 158 D                                 375 False Claims Act
  D 120 Marine                     D 310 Airplane             D 365 Personal Injury -          of Property 21 USC 881 D 423 Withdrawal                 D              376 Qui Tam (31 USC
  D 130 Miller Act                 D 315 Airplane Product            Product Liability  D 690 Other                            28 USC 157                                 3729(a))
  D 140 Negotiable Instrument              Liability          D 367 Health Care/                                             INTELLECTUAL              D              400 State Reapportionment
  D 150 Recovery of Overpayment D 320 Assault, Libel &              Pharmaceutical                                          PROPERTY RIGHTS            D              410 Antitrust
      & Enforcement of Judgment            Slander                  Personal Injury                                                                    D              430 Banks and Banking
                                   D 330 Federal Employers’                                                              D 820 Copyrights
  D 151 Medicare Act                                                Product Liability                                    D  830 Patent                 D              450 Commerce
  D 152 Recovery of Defaulted              Liability          D 368 Asbestos Personal
                                   D 340 Marine                                                                          D 835 Patent - Abbreviated D                 460 Deportation
                                                                                                                                New Drug Application D
        Student Loans                                               Injury Product                                                                                    470 Racketeer Influenced and
        (Excludes Veterans)        D  345 Marine  Product           Liability                                                                                             Corrupt Organizations
                                                                                                                         D  840 Trademark
  D 153 Recovery of Overpayment            Liability           PERSONAL PROPERTY
        of Veteran’s Benefits      D 350 Motor Vehicle        D 370 Other Fraud                                          D 880 Defend Trade Secrets D                 480 Consumer Credit
                                                                                                                                Act of 2016                               (15 USC 1681 or 1692)
  D 160 Stockholders’ Suits        D 355 Motor Vehicle        D 371 Truth in Lending                                                                   D              485 Telephone Consumer
                                                                                                  LABOR                     SOCIAL SECURITY
  D 190 Other Contract                     Product Liability  D 380 Other Personal                                                                                        Protection Act
  D 195 Contract Product Liability D  360 Other Personal              Property Damage   D  710 Fair Labor  Standards     D  861 HIA  (1395ff)
                                                                                                                                                       D              490 Cable/Sat TV
  D 196 Franchise                         Injury              D 385 Property Damage             Act                      D 862 Black Lung (923)        D              850 Securities/Commodities/
                                   D 362 Personal Injury -            Product Liability D  720 Labor/Management          D 863 DIWC/DIWW (405(g))                         Exchange
                                          Medical Malpractice                                  Relations                 D 864 SSID Title XVI          D              890 Other Statutory Actions
                                                                                        D 740 Railway Labor Act          D 865 RSI (405(g))
                                                                                        D  751 Family and Medical
                                                                                                                                                       D              891 Agricultural Acts
I     REAL PROPERTY                    CIVIL RIGHTS            PRISONER PETITIONS
                                                                                               Leave Act
                                                                                                                           FEDERAL TAX SUITS           D              893 Environmental Matters
  D 210 Land Condemnation          D 440 Other Civil Rights      Habeas Corpus:
                                                                                        D 790 Other Labor Litigation D 870 Taxes       (U.S. Plaintiff D              895 Freedom of Information
  D 220 Foreclosure                D 441 Voting                D 463 Alien Detainee                                             or Defendant)                             Act
  D 230 Rent Lease & Ejectment ~ 442 Employment                D 510 Motions to Vacate D 791 Income
                                                                                               Employee Retirement
                                                                                                       Security Act
                                                                                                                         D 871 IRS—Third Party         D              896 Arbitration
  D 240 Torts to Land              D 443 Housing/                     Sentence
                                                                                             IMMIGRATION
                                                                                                                                26 USC 7609            D              899 Administrative Procedure
  D 245 Tort Product Liability             Accommodations D 530 General                                                                                                   Act/Review or Appeal of
                                                                                        D 462 Naturalization Application
  D 290 All Other Real Property D 445 Amer. w/Disabilities- D 535 Death Penalty                                                                                           Agency Decision
                                           Employment            Other:                 D 465 Other Immigration                                        D              950 Constitutionality of
                                                                                               Actions
                                   D 446 Amer. w/Disabilities- D 540 Mandamus & Other                                                                                     State Statutes
                                           Other               D 550 Civil Rights
                                   D 448 Education             D 555 Prison Condition
                                                               D 560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
  V. ORIGIN (Place an “X” in One Box Only)
D 1 Original                  2 Removed from         D 3       Remanded from            D 4 Reinstated or D 5 Transferred from               D 6 Multidistrict             D 8 Multidistrict
         Proceeding             State Court                    Appellate Court                 Reopened                  Another District            Litigation-                 Litigation -
                                                                                                           (specify)                                 Transfer                    Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        28 USC §§ 1332, 1441(b), 1446
VI. CAUSE OF ACTION                     Brief description of cause:

VII. REQUESTED IN    □ CHECK IF THIS IS A CLASS ACTION                                            DEMAND $                                  CHECK YES only if demanded in complaint:
      COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                  15,000,000                               JURY DEMAND:            Yes      No
VIII. RELATED CASE(S) (See instructions):
      IF ANY                              JUDGE                                                                                      DOCKET NUMBER
DATE October 6., 2023                                              SIGNATURE OF ATTORNEY OF RECORD                  /s/ Alison L. Lynch
FOR OFFICE USE ONLY
  RECEIPT #                     AMOUNT                                 APPLYING IFP                                 JUDGE                            MAG. JUDGE
                                                                                                                                                    American LegalNet, Inc.
                                                                                                                                                    www.FormsWorkFlow.com  Q)
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JS 44 Reverse (Rev. 04/21)

                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of plea ding or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)     Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, u se
          only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
          the official, giving both name and title.
      (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
          time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
          condemnation cases, the county of residence of th e "defendant" is the location of the tract of land involved.)
      (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
          in this section "(see attachment)".

II.        Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
           United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United Stat es are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the Unit ed States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
           precedence, and box 1 or 2 should be marked.
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
           citizenship of the different parties must be checked . (See Section III below; NOTE: federal question actions take precedence over diversity
           cases.)

III.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
           section for each principal party.

IV.        Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
           that is most applicable. Click here for: Nature of Suit Code Descriptions .

V.         Origin. Place an "X" in one of the seven boxes.
           Original Proceedings. (1) Cases which originate in the United States district courts.
           Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S. C., Section 1441.
           Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further ac tion. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
           Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
           multidistrict litigation transfers.
           Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Ti tle 28 U.S.C.
           Section 1407.
           Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
           PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
           changes in statute.

VI.        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.       Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
           numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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